      Case: 1:18-cv-01869 Document #: 125 Filed: 06/29/18 Page 1 of 10 PageID #:419




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS,
                                  EASTERN DIVISION

MICHELLE PARKINSON,                                 )
               Plaintiff,                           )   Case No. 18-cv-01869
                                                    )
vs.                                                 )   Hon. Edmond E. Chang,
                                                    )   Judge Presding.
PNC BANK, N.A., et al.,                             )
                   Defendants.                      )

             MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
                      MOTION TO DISMISS COMPLAINT
       PURSUANT TO RULE 12 OF THE FEDERAL RULES OF CIVIL PROCEDURE

         NOW COME Defendants Anselmo Lindberg & Associates, LLC; Steven C. Lindberg;

Thomas Anselmo; Michael Anselmo; Bryan D. Hughes; Michael C. Crowe; Christopher S. Iaria;

Sean Jordan; Masum Patel; Susan Ward; and Tracy M. Bristow (collectively, “defendants”) by

and through their counsel, Robert J. Deisinger of Anselmo Lindberg & Associates, LLC, and

submit this memorandum of law in support of their motion to dismiss Plaintiff’s complaint

pursuant to Rule 12 of the Federal Rules of Civil Procedure.


                                             Introduction

         The instant litigation arises out of a state-court foreclosure action filed by the law firm of

Anselmo Lindberg & Associates (f/k/a Anselmo Lindberg Oliver) on behalf of PNC Bank, N.A.,

against the Plaintiff in this case, Michelle Parkinson. Several months after the state-court

foreclosure was filed, PNC sought to dismiss its case voluntarily, and the state court entered an

order dismissing the foreclosure complaint. However, in response to the foreclosure complaint

and while it remained pending, Ms. Parkinson filed counterclaims against PNC that remained

pending. Ultimately, all of those counterclaims were resolved against Ms. Parkinson by dismissal

with prejudice or by summary judgment against her.



                                             Page 1 of 10
   Case: 1:18-cv-01869 Document #: 125 Filed: 06/29/18 Page 2 of 10 PageID #:419




        Having failed to obtain a favorable judgment in state court, Ms. Parkinson now seeks

relief in this court by asserting myriad claims against anyone who had or potentially had even the

slightest involvement in the prior litigation. The vast majority of claims are ludicrous on their

face. Ms. Parkinson purports to allege the existence of a vast conspiracy consisting of more than

1,000 individuals, including state court judges, court officials, lawyers, law clerks, paralegals,

process servers, and others to somehow deprive her of property and enrich themselves at her

expense. These claims are frivolous. To the extent that Ms. Parkinson’s complaint attempts to

state at least potentially viable causes of action, her scattershot pleading approach violates Rule 8

of the Rules of Civil Procedure and makes it difficult to determine which claims she asserts

against which defendants and which facts she believes support those claims. Furthermore, this

court lacks jurisdiction to hear claims arising out of the state court litigation. Other purported

claims are barred by limitations, res judicata, or are simply not recognizable causes of action.

Finally, the instant complaint joins defendants who have no association with Ms. Parkinson other

than their employment with the Anselmo Lindberg firm and against whom no plausible causes of

action have been pleaded. For all of these reasons and those that follow, Defendants pray that

Plaintiff’s complaint be dismissed.


   I.      This Court Lacks Jurisdiction to Adjudicate Plaintiff’s Complaint because the Claims
           Are Barred by the Rooker-Feldman Doctrine.

        In lieu of rehashing arguments already before the court regarding the Rooker-Feldman

doctrine, Defendants adopt the arguments asserted by Defendants Brown, Schneider, ATG Legal

Serve et al., set forth in their respective memoranda (Docket Nos. 87, 105, 112). In addition to

those arguments, Defendants note that Rooker-Feldman has been interpreted by the Seventh

Circuit to bar both FDCPA claims and RICO conspiracy claims “dependent and interwoven with




                                            Page 2 of 10
   Case: 1:18-cv-01869 Document #: 125 Filed: 06/29/18 Page 3 of 10 PageID #:419




the state-court litigation.” Mains v. Citibank, N.A., 852 F.3d 669, 677 (7th Cir. 2017). That

perfectly describes the situation in this case. This court lacks jurisdiction to review the state

court’s judgment against Ms. Parkinson and in favor of PNC on Plaintiff’s third amended

countercomplaint in Cook County Case 2015 CH 12248, and the complaint should therefore be

dismissed pursuant to Rule 12(b)(1).


   II.      Alternatively, the Claims in Plaintiff’s Complaint Are Barred by Res Judicata.

         Defendants similarly adopt the arguments regarding the effect of res judicata asserted by

the ATG Defendants in their memorandum (Docket No. 105). As ATG correctly noted, this court

must apply Illinois law in determining whether Plaintiff’s claims are barred by res judicata.

However, the effect of res judicata goes even beyond the cogent arguments asserted by ATG.

The Illinois Supreme Court has held that res judicata not only bars relitigation of matters

adjudicated in a prior suit, but also bars the litigation of matters that could have been litigated in

the prior suit but were not. Village of Bartonville v. Lopez, 2017 IL 120643, ¶49; Blumenthal v.

Brewer, 2016 IL 118781, ¶42. “Separate claims will be considered the same cause of action for

purposes of res judicata if they arise from a single group of operative facts, regardless of

whether they assert different theories of relief.” Id.

         In this instance, the claims asserted by Plaintiff are barred by res judicata because they

either were in fact adjudicated against Plaintiff in the trial court’s judgment dismissing Ms.

Parkinson’s counterclaims or granting summary judgment against her, or could have been. For

example, Ms. Parkinson’s third amended countercomplaint alleged injury for, among other

things, “foreclosure proceedings being filed on August 14, 2015; ….continued foreclosure

proceedings; … charges and/or collections of attorney fees, legal fees, foreclosure costs, property

inspection fees, [etc.]; my information being made public for infinity due to the internet; forcing



                                             Page 3 of 10
   Case: 1:18-cv-01869 Document #: 125 Filed: 06/29/18 Page 4 of 10 PageID #:419




me … to fight this illegal foreclosure; invasion of my privacy; stalkers being able to look at

information…; going to my job; going to my friend’ house; medical problems….” Docket No.

105-3 (state court countercomplaint), at pg. 3, pg 6. As in this case, the claims asserted by Ms.

Parkinson in state court purported to sound in statutory consumer fraud, unjust enrichment,

common law fraud, and violation of the Fair Debt Collection Practices Act. Compare Docket No.

1 with Docket No. 105-3. Ms. Parkinson’s state court counterclaims were also expressly

predicated in part on assertions that the Anselmo Lindberg firm engaged in “alleged misconduct

stem[ming] from its debt collection activities in behalf of PNC Bank, N.A….” Id., at pg. 21.

          Ms. Parkinson’s current complaint is predicated on the same group of operative facts as

the prior state court litigation. The complaint even alleges in its very first paragraph that “This is

an action for Collateral Attack….” Docket No. 1, ¶1. The judgment entered against Ms.

Parkinson in the state court case bars the present complaint, which should therefore be dismissed

pursuant to Rule 12(b)(6).


   III.      Alternatively, Plaintiff’s Complaint is Not Viable Due to the Absolute Litigation
             Privilege.

          As Ms. Parkinson’s claims arise out of the prior state court litigation, Defendants are

entitled to the absolute litigation privilege. Illinois’s concept of this privilege is extremely broad.

“The privilege applies to communications made before, during, and after litigation,” when

“communications [] relate to proposed or pending litigation and [are] in furtherance of

representation.” O’Callahan v. Satherlie, 2015 IL App (1st) 142152, ¶¶25, 26. The privilege

applies not only to statements, but also to conduct. Id., ¶26. The privilege bars causes of action

sounding in defamation, negligent infliction of emotional distress, and even intentional infliction

of emotional distress. Id.




                                             Page 4 of 10
   Case: 1:18-cv-01869 Document #: 125 Filed: 06/29/18 Page 5 of 10 PageID #:419




         A creative plaintiff may not avoid the application of the litigation privilege by artful

pleading. “There is no civil cause of action for misconduct which occurred in prior litigation.

Instead, parties should attempt to redress injuries from misconduct in judicial proceedings in the

same litigation. Were it otherwise, litigation would never end.” Id., ¶28. As Plaintiff’s claims are

barred by the absolute litigation privilege, the court should dismiss the complaint pursuant to

Rule 12(b)(6).


   IV.      Count 1 of Plaintiff’s Complaint Fails to State a Cause of Action for Violation of 42
            U.S.C. § 1983 against Defendants because Defendants Are Not State Actors.

         In addition to the aforementioned reasons that Ms. Parkinson’s complaint should be

dismissed, each of the identifiable subclaims asserted by her against Defendants fails for one

reason or another. In Count 1 of her complaint, Ms. Parkinson claims that “all defendants” in the

action violated 42 U.S.C. § 1983. As to the Anselmo Lindberg firm and its employees, Ms.

Parkinson’s claim fails as a matter of law because these Defendants are not state actors. As Ms.

Parkinson’s pleading seemingly acknowledges, a claim for violation of 42 U.S.C. § 1983 must

assert that actions were taken by the defendants “under color of law.” Complaint, ¶158. To have

a viable claim for a section 1983 violation, “the party charged with the deprivation must be a

person who may fairly be said to be a state actor. This may be because he is a state official,

because he acted together with or has obtained significant aid from state officials, or because his

conduct is otherwise chargeable to the state.” Lugar v. Edmonson Oil Co., 457 U.S. 922, 937

(1982). Here, there is no assertion that Defendants fall into any of these categories. Because

Defendants did not act under color of state law in any way, Count 1 of Ms. Parkinson’s

complaint should be dismissed as to Defendants under Rule 12(b)(6) for failure to state a claim

upon which relief can be granted.




                                             Page 5 of 10
   Case: 1:18-cv-01869 Document #: 125 Filed: 06/29/18 Page 6 of 10 PageID #:419




   V.      The Complaint Fails to Allege Sufficient Facts to State Causes of Action for
           Defamation (Count 7), Civil Conspiracy (Count 9), Invasion of Privacy (Count 10),
           RICO (Counts 11.1-11.5), Violation of the Consumer Fraud Act (Count 24), Slander
           of Title (Count 31), and Slander of Credit (32).

        Similarly, Ms. Parkinson’s complaint fails to allege sufficient facts to state causes of

action against Defendants for numerous other “claims of relief” she purports to assert. For

example, the complaint alleges in conclusory fashion that the complaint the Anselmo Lindberg

firm filed on behalf of PNC in the state court was “fraudulent” and that the firm “sent an

affidavit of the filing of a foreclosure complaint to Plaintiff’s alderman.” Complaint, ¶¶214, 215.

However, Plaintiff fails to identify a single false statement in either document, which is a

necessary allegation of a defamation complaint. See Krasinski v. United Parcel Service, Inc., 124

Ill.2d 483, 490 (1988). (Also, sending an affidavit to the alderman when a foreclosure complaint

is filed is a state law requirement; see 735 ILCS 5/15-1503.) The “invasion of privacy by

perpetual gang surveillance” claim (Count 10) fails to assert any facts tying any of Defendants to

the allegations of surveillance, which read like paranoid delusions. The RICO counts (Counts

11.1-11.5) fail to assert facts that would establish any predicate criminal acts by any of the

Defendants, or any “criminal enterprise.” As with the defamation claims, Plaintiff alleges that

Defendants filed or mailed “false” or “fraudulent” documents without asserting any specific

falsehood. Moreover, to the extent Plaintiff might argue that the Anselmo Lindberg firm and its

attorneys and paralegals together might be subject to the statute, the Seventh Circuit has

explicitly stated that “an employer and its employees cannot constitute a RICO enterprise.”

Fitzgerald v. Chrysler Corp., 116 F.3d 225, 226 (7th Cir. 1997). Moreover, as the ATG

defendants argued in their memorandum, courts in this district have held that “prosecuting a

complaint is not mail or wire fraud or a predicate act under RICO.” See Docket No. 105, at pg.

13. The “civil conspiracy” claim (Count 9) is wholly conclusory in asserting that “each



                                            Page 6 of 10
   Case: 1:18-cv-01869 Document #: 125 Filed: 06/29/18 Page 7 of 10 PageID #:419




Defendant committed the acts, cause or directed others to commit” unspecified “violations of law

alleged in this Complaint.” Complaint, ¶233. The statutory consumer fraud (Count 24), slander

of title (Count 31), and slander of credit (Count 32) claims also all fail because they fail to

identify any false statements made by Defendants. Finally, as to Count 24, that section is wholly

inapplicable in any event, as it concerns only statements to credit reporting agencies regarding

“co-signers of an obligation.” 815 ILCS 505/2s.


   VI.      Plaintiff’s Defamation (Count 7), FDCPA (Counts 14-21), and Slander of Credit
            (Count 32) Claims Are Untimely and Barred by Limitations.

         Even though Plaintiff’s claims fail to state viable causes of action on their face, the few

operative facts that were alleged demonstrate that Plaintiff pleaded herself out of court.

Generally, limitations is pleaded as an affirmative defense, but can be raised in a Rule 12 motion

where the facts asserted in the complaint show that the claims are barred. See Andonissamy v.

Hewlett-Packard Co., 547 F.3d 841, 847 (7th Cir. 2008). The statute of limitations for

defamation or false statement claims or for invasion of privacy (Count 7, Count 32) is one year.

735 ILCS 5/13-201. The statute of limitations for FDCPA claims is also one year. 15 U.S.C. §

1692k (d). The FDCPA claims are barred because the foreclosure complaint was dismissed on

April 5, 2016 (see Docket 105-4)¸and no facts are alleged that Defendants took any action to

collect the debt thereafter. Actions taken by the Anselmo Lindberg defendants in their capacity

as PNC’s counsel defending PNC against Ms. Parkinson’s counterclaims by definition are not an

effort to collect a debt. Similarly, there are no facts asserted that defendants published any false

statements regarding defendant or her credit within one year prior to her pending complaint.

Plaintiff’s complaint claims in conclusory fashion that “any applicable statutes of limitations

have been tolled” but fails to allege any facts to support that assertion. Complaint, ¶53.




                                             Page 7 of 10
   Case: 1:18-cv-01869 Document #: 125 Filed: 06/29/18 Page 8 of 10 PageID #:419




   VII.    The Purported Claims Asserted in Counts 5, 8, 13, 27, and 34 Are Not Recognizable
           Causes of Action.

       Ms. Parkinson purports to assert other claims against the Anselmo Lindberg defendants

that fail to state any recognizable cause of action. A “fraud upon the court” (Count 5) may be a

reason to set aside a judgment under 735 ILCS 5/2-1401 or F.R.C.P. 60, but it is not otherwise an

independent cause of action. As far as Defendants can determine, there is no legally cognizable

cause of action for “fraudulent process” (Count 8) or “destruction of quality of life” (Count 13).

While “unjust enrichment” is sometimes improperly couched as a cause of action, “unjust

enrichment is an equitable remedy based on a contract implied in law.” First Midwest Bank v.

Cobo, 2017 IL App (1st) 170872, ¶29 (emphasis added). Similarly, Plaintiff’s assertion of

“willful and wanton misconduct” fails to state a claim; whether conduct is “willful and wanton”

can be an element of a cause of action, but it is not itself an action. El-Uri v. City of Chicago,

186 F.Supp.2d 844, 850 (N.D. Ill. 2002).


   VIII.   No Facts Are Asserted to Bring the Named, Individual Employees of Anselmo
           Lindberg & Associates Within Any Viable Cause of Action.

       Finally, Ms. Parkinson has improperly named and joined numerous individuals in her

complaint about whom she asserts nothing even remotely approaching tortious conduct, or in

some instances, about whom she asserts practically nothing at all. Substantively, Susan Ward and

Tracy Bristow, non-attorney employees of the Anselmo Lindberg firm, are alleged only to have

signed proof of mailing of documents in the foreclosure case. Complaint, ¶90 (Ward), ¶103

(Bristow). Similarly, Masum Patel, an attorney employed by the firm, is alleged only to have

signed a proof of service. Complaint, ¶108. (Even in that, the complaint is ludicrous; it asserts

Ms. Patel signed a proof of mailing for a mailing on October 4, where the Plaintiff acknowledges

its postage corroborates the mailing on October 4. Id.) Defendants Bryan Hughes and Sean



                                            Page 8 of 10
   Case: 1:18-cv-01869 Document #: 125 Filed: 06/29/18 Page 9 of 10 PageID #:419




Jordan, attorneys employed by the firm, are alleged only to have made statements to the court, in

court. Complaint, ¶¶63, 64 (Jordan), ¶122 (Hughes). As best as Defendants can tell, there are no

allegations at all regarding attorneys Christopher Iaria, Michael Crowe, or Michael Anselmo

except that they are alleged to be employees of the Anselmo Lindberg firm. Complaint, ¶35.

Similarly, Defendant Thomas Anselmo is alleged to have been a managing partner at the

Anselmo Lindberg firm, and the only conduct alleged as to him is the conclusory statement that

he purportedly “directed, authorized, and ratified” the Anselmo employees’ conduct. Complaint,

¶34. Lastly, Defendant Steven Lindberg is alleged to be a managing partner (¶34), to have

executed and filed certain documents in the foreclosure case (e.g., ¶¶66, 101, 102) such as a

motion to dismiss the foreclosure case voluntarily and an attestation required by 735 ILCS 5/15-

1504.1. These allegations show no impropriety. As there are no allegations of tortious conduct

by any of these individuals, and there can be no viable cause of action against them by virtue of

the absolute litigation privilege or otherwise, they should be dismissed from this action with

prejudice.

                                           Conclusion

       For all of the reasons set forth herein, Defendants pray that the court enter an order

dismissing Plaintiff’s complaint pursuant to Rule 12 of the Federal Rules of Civil Procedure.

                                                     Respectfully submitted,

                                             By:     s/ Robert J. Deisinger____________
                                                     One of the Defendants’ attorneys.
Robert J. Deisinger
Counsel for Anselmo Lindberg & Assoc. et al.
Anselmo Lindberg & Associates LLC
1771 W. Diehl Rd., Ste. 120
Naperville, IL 60563
(630) 453-6960
rdeisinger@anselmolindberg.com
litigation@anselmolindberg.com



                                           Page 9 of 10
  Case: 1:18-cv-01869 Document #: 125 Filed: 06/29/18 Page 10 of 10 PageID #:419




                                   Certificate of Service

        The undersigned attorney hereby certifies that on June 29, 2018, he filed the above
Memorandum of Law in Support of Defendants’ Motion to Dismiss Complaint Pursuant to Rule
12 of the Federal Rules of Civil Procedure using the CM/ECF system, which will serve a copy
on the parties listed below:

Plaintiff Michelle Parkinson:
        Michelle Parkinson, Stopthefraud7889@gmail.com

Defendants PNC Bank, N.A., William S. Demechak, Sarah T. Greggerson, Christina Cottrell, &
Amy Toller:
      Gary Green, ggreen@clarkhill.com
      Pamela Leightling, pleightling@clarkhill.com

Defendant Attorneys’ Title Guaranty Fund, Inc., Peter Birnbaum, ATG LegalServe, Inc., Kelly
Ann Kienzle:
      Mitchell Lieberman, mlieberman@noonanandlieberman.com
      Robert Haney, rhaney@noonanandlieberman.com

Defendant Catherine A. Schneider:
      Shirley Ruth Calloway, scalloway@atg.state.il.us

Defendant Dorothy Brown:
      John Power, John.Power@cookcountyil.gov
      Anthony E. Zecchin, Anthony.Zecchin@cookcountyil.gov

Defendant Douglas Oliver:
      Brian Merfeld, Brian.Merfeld@mccalla.com



                                           By:    s/ Robert J. Deisinger____________
                                                  One of the Defendants’ attorneys.


Robert J. Deisinger
Counsel for Anselmo Lindberg & Assoc. et al.
Anselmo Lindberg & Associates LLC
1771 W. Diehl Rd., Ste. 120
Naperville, IL 60563
(630) 453-6960
rdeisinger@anselmolindberg.com
litigation@anselmolindberg.com




                                        Page 10 of 10
